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4                         UNITED STATES DISTRICT COURT

5                        EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,            No. 2:14-cr-0083-GEB
8                 Plaintiff,
9        v.                               ORDER DENYING DEFENDANT’S
                                          PRETRIAL MOTIONS
10   RUSLAN KIRILYUK,
11                Defendant.
12

13             On January 18, 2019, Defendant Ruslan Kirilyuk filed

14   pretrial motions.     The United States filed an opposition to the

15   motions on January 25, 2019.        Because of the information in the

16   opposition brief, defendant’s pretrial motions are denied.

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               Dated:    January 31, 2019
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